Case 1:17-cv-00915-NYW Document 34-4 Filed 01/17/18 USDC Colorado Page 1 of 7

1/16/2018

Plaintiff
VICKI MIZE

Plaintiff Attorney

Alternative Tracking Number

Court Status

Filing Fee

0.00

Service Fee

0.00

Expiration Answer Period

General Status

General Notes

Defendant3

Case Detail

C

Plaintiff City
MONUMENT

Record Number

3A000050
Assign Attorney
Date of Inspection

11/29/2016

Service
Pending
Summary Judgement
Fee Cost Attorney
Fee Cost Attorney Notes

Defendant1

Defendant4

Plaintiff State
COLORADO

Case Number

1:17-CV-00915-NYW

Parcel Number

2351-263-07-008

Date of Filing

Service Start Date

04/18/2017

Answer Status

Fee Cost Third Party

Fee Cost Third Party Notes

Defendant2

Defendantd
Case 1:17-cv-00915-NYW
1/16/2018

Property Detail

Property Address

312 METZLER RD SUITE DC
ASTLE ROCK

Property County
DOUGLAS

Defendant Attorney Detail

Defendant Attorney

Defendant Attorney Phone

Defendant Attorney City

Defendant Attorney Zipcode

Document 34-4 Filed 01/17/18 USDC Colorado Page 2 of 7

Case Detail

Property City

Property Zip
80108

Defendant Attorney Organization

Defendant Attorney Address‘

Defendant Attorney State

Property State
co

Location Type

Defendant Attorney Email

Defendant Attorney Address2

Defendant Attorney County
Case 1:17-cv-00915-NYW Document 34-4 Filed 01/17/18 USDC Colorado Page 3 of 7
4/16/2018 Case Detail

Property Owners

Mailing Mailing Mailing

Name Mailing Address City State County Zipcode Email
KAI, INC. DBA C/O HYOK JU KIM- KAI, 312 CASTLE co 80108
SA WA RA METZLER DR, SUITE D ROCK

Settlement Detail

Settlement Status Settlement Offer Amount Settlement Offer Date
0.00
Settlement Amount Settlement Manager
0.00
Case Files .
File Type File Name Size Description
Photos & 2BB5E428-91 E5-43E6-B2E5-3524630DA077. jpg 1,124.18
Investigation KB
Photos & 5COACEE7-8A5D-40A9-8753-6F 8B410D0MC. jpg 1,070.08
Investigation KB
1 .
Photos 8 8D15AE69-E960-4009-A506-FO0799FD7E66. jpg 070.08
Investigation KB
Photos & . 84A88A59-42A2-44D4-ACC2-4750FB0979DF jpg 1,087.56
Investigation KB
Photos & .
. 8673C283-5385-4698-8BOF-3A7F2EACD89E. jpg 982.40 KB

Investigation

08
Photos & 13539CB6-2938-4AF6-BD92-B133A4EA7338 jpg 1,070.0
Investigation KB
Photos & A157ACEF-EFOF-41B1-A9F4-4EB3018534ED jpg 1,124.18
Investigation KB
Photos & ASSESSOR. pdf 90.42 KB

Investigation

Case 1:17-cv-00915-NYW Document 34-4 Filed 01/17/18 USDC Colorado Page 4 of 7

1/16/2018
File Type

Photos &
Investigation

Photos &
Investigation

Photos &
Investigation

Photos &
Investigation

Photos &
Investigation

Photos &
Investigation

Photos &
Investigation

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Case Detail

File Name

audit_OO65C8A8E1C84FAAA7FDF8B119BDCAF4.csv

B457FBD6-91B4-4D29-974F-62FD32177403.jpg

CORP DOC.pdf

DO89C9BC-0C45-4610-BD7D-FE7A111B5186.jpg

Parking Inspection Report AD.pdf

PLAT MAP.PNG

STREET VIEW.PNG

Doc 1- Complaint. pdf

Doc 1-1- Cover Sheet. pdf

Doc 1-2- Purposed Summons.pdf

Doc 2- Case Assigned to Judge.pdf

Doc 3- Signed Summons.pdf

Doc 3-1 Consent Magistrate Judge Blank.pdf

Doc 4- Judge Memorandum.pdf

Doc 5- Case Assigned to Judge.pdf

Doc 7- Order Setting Scheduling Order. pdf

Untitled Extract Pages.pdf

Size Description

12.08 KB

5,417.47
KB

323.26 KB

1,124.18
KB

1,196.24
KB

1,862.41
KB

1,284.43
KB

403.94 KB

799.09 KB

166.80 KB

66.31 KB

76.30 KB

65.67 KB

19.56 KB

70.96 KB

40.93 KB

305.48 KB

Case 1:17-cv-00915-NYW Document 34-4 Filed 01/17/18 USDC Colorado Page 5 of 7

1/16/2018
File Type

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Correspondence
Correspondence
Correspondence
Correspondence
Correspondence

Pleadings &
Motions

Correspondence
Correspondence

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Case Detail

File Name

Complaint.pdf

Cover Sheet.pdf

Summons.pdf

2017-5-11 Email from Patterson.pdf
2017-5-12 Email to Patterson.pdf
2017-5-21 Email from Patterson.pdf
2017-5-22 Email from Stamper.pdf

2017-5-22 Email to Legal Team.pdf
Doc — Declaration of Service.pdf

2017-5-25 Email from Stamper.pdf

2017-5-26 Email to Patterson.pdf

Doc 14- Schedulling Order.pdf

Doc 13- Order Referring. pdf

Doc 12- Case Assigned to Magistrate .pdf

Doc 8- Notice of Appearance.pdf

Doc 10- Motion for Extension.pdf

Doc 11- Motion for Extension.pdf

Election_of_Consent_or_Non-Consent_Form - Sa Wa Ra.docx

Election_of_Consent_or_Non-Consent_Form - Sa Wa Ra.pdf

Doc 0- Notice of Filing Consent to Magistrate. pdf

Size

382.66 KB

783.32 KB

152.89 KB

138.90 KB
448.38 KB
149.73 KB
167.44 KB

90.15 KB

605.91 KB

237.49 KB

208.07 KB

121.43 KB

24.53 KB

81.58 KB

58.14 KB

199.43 KB

37.41 KB

19.89 KB

11.88 KB

142.33 KB

Description
Case 1:17-cv-00915-NYW Document 34-4 Filed 01/17/18 USDC Colorado Page 6 of 7

1/16/2018

File Type

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Other

Other

Other
Other
Other

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Pleadings &
Motions

Correspondence
Correspondence

Correspondence

Case Detail

File Name

Doc 12- Consent to Magistrate Judge.pdf

Proposed Scheduling Order Mize v Kai Inc 00915.docx

Proposed Scheduling Order Mize v Kai Inc 00915.pdf

Doc 10- Unopposed Motion for Extension of Time.pdf

Doc 1- Complaint.pdf

Doc 10- Unopposed Motion for Extension of Time to
Respond. pdf

Doc 14- Proposed Scheduling Order.pdf
NYW_Civil_Practice_Standards re Scheduling Conferences. pdf

Plaintiff's Initial Disclosures.pdf

Doc 17- Motion to Dismiss For lack.pdf

Doc 17_1- Praposed Order to Dismiss.pdf

Doc 17_2- Exhibit A- Photograph of Parking Lot.pdf

Doc 17_3- Exhibit B- Photograph of Parking signs.pdf

Doc 17_4- Exhibit C- Photographs of Restroom Doors.pdf

Doc 17_5- Exhibit D- Photograph of Toilet Measurement.pdf

Doc 17_6- Exhibit E- Photograph of Toilet Height.pdf

Untitled Extract Pages.pdf

2017-6-21 Email to Patterson.pdf
2017-6-21 Email from Patterson.pdf

2017-6-28 Email to Patterson.pdf

Size

28.90 KB

60.37 KB

42.05 KB

103.55 KB

405.55 KB

103.55 KB

61.14 KB
284.37 KB
137.77 KB

199.16 KB

104.11 KB
2,030.25
KB

2,120.33
KB

1,324.02
KB

1,216.30
KB

2,301.11
KB

592.41 KB

173.09 KB
114.41 KB

213.82 KB

Description
Case 1:17-cv-00915-NYW Document 34-4 Filed 01/17/18 USDC Colorado Page 7 of 7

1/16/2018

File Type

Pleadings &
Motions

FILINGS
FILINGS
FILINGS
FILINGS
FILINGS

FILINGS

FILINGS

FILINGS

FILINGS
FILINGS
FILINGS
FILINGS
FILINGS
FILINGS
FILINGS
FILINGS

Case Detail

File Name
Doc 21- Response to Motion to Dismiss.pdf

Doc 24- Stipulation for Extension of Time.pdf

Doc 24.1- Proposed Order.pdf

Doc 25- Notice of Service.pdf

Doc 25.1- Exhibit A.pdf

Doc 26- Order Granting Motion for Order.pdf

Doc 27- Surreply.pdf

Doc 27_1 Exhibit A.pdf

Doc 28- Memorandum Opinion and Order Denying Motion to
Dismiss.pdf

Doc 28_1 Exhibit.pdf

Doc 29- Answer to Complaint.pdf

Doc 30- Defendant's Notice of Service of Expert Disclosure.pdf
Doc 31- Motion to Quash Supoena.padf

Doc 31.1- Exhibit A - Supoena Duces Tecum.pdf

Doc 32- First Motion for Sanctios.pdf

Doc 32.1- Exhibit A - Notice of Deposition. pdf

Doc 32.2- Exhibit B - Amended Notice of Deposition.pdf

Size

436.65 KB

255.03 KB
27.55 KB
28.43 KB
269.51 KB
75.93 KB
366.78 KB
2,030.91
KB

99.28 KB

78.70 KB
123.03 KB
96.49 KB
188.22 KB
388.36 KB
120.32 KB
91.63 KB
92.66 KB

Description

